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AO 91 (Rev. 11/11) Criminal Complaint
                                                                                                                     Apr 14 2021

                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                Northern District
                                              __________  DistrictofofCalifornia
                                                                       __________

                  United States of America                      )
                             v.
                       DANIEL BARILI
                                                                )
                                                                )      Case No. CR 21-70620-MAG
                                                                )
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                March 2, 2020                in the county of             Santa Cruz               in the
     Northern          District of        California        , the defendant(s) violated:

            Code Section                                                  Offense Description
21 U.S.C § 841(a)(1) and (b)(1)(B)           Possession with Intent to Distribute 50 Grams and More of a Mixture and
                                             Substance Containing Methamphetamine
                                             MAXIMUM PENALTIES:
                                             Imprisonment: 5 years minimum, 40 years maximum
                                             Fine: $5,000,000
                                             Supervised Release: minimum 4 years, maximum life
                                             Special Assessment: $100; Potential Immigration Consequences


         This criminal complaint is based on these facts:
See attached affidavit of DEA Special Agent Erik Wolf.




         ✔ Continued on the attached sheet.
         u

                                                                                                    /s/
                                                                                           Complainant’s signature
 Approved as to form:
                                                                                     Erik Wolf, DEA Special Agent
                                                                                            Printed name and title

Sworn to before me via telephone pursuant to Fed. R. Crim. P. 4.1 and 4(d).


Date:       April 14, 2021
                                                                                              Judge’s signature

City and state:          Arcata, CA                                            Robert M. Illman, U.S. Magistrate Judge
                                                                                            Printed name and title
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                    AFFIDAVIT OF DEA SPECIAL AGENT ERIK WOLF

                          IN SUPPORT OF CRIMINAL COMPLAINT



        I, Erik A. Wolf, being duly sworn, depose and hereby declare as follows:

                       INTRODUCTION AND AGENT BACKGROUND

        1.      I am a Drug Enforcement Administration (DEA) Special Agent currently assigned

to the San Jose Resident Office (SJRO). As a Special Agent with the DEA, my investigations

focus on large-scale narcotic offenders. I have been employed by the DEA since March, 2012.

Prior to being assigned to the SJRO, I received seventeen weeks of specialized training at the

DEA Academy in Quantico, Virginia. This training included several hundred hours of

comprehensive, formalized instruction in, but among other things, basic narcotics investigations,

drug identification, detection, interdiction, United States narcotic laws, financial investigations

and money laundering, identification and seizure of drug related assets, undercover operations,

and electronic and physical surveillance procedures. I also attended DEA’s Clandestine

Laboratory enforcement school, focusing on investigations involving clandestine labs. I have

participated in several investigations relating to drug trafficking, the arrests of well over twenty

persons involved in drug trafficking, and on at least twenty occasions, I have been involved in

searches of locations in connection with drug trafficking investigations. As a result of my

training and experience, I am familiar with how various drugs, including crystal

methamphetamine and heroin, are used and the typical distribution and trafficking methods used

by drug dealers and traffickers. I am also familiar with the various methods generally utilized by

traffickers to transport drugs in and through the state of California.

        2.      I am also familiar with the manner in which narcotics traffickers use vehicles,

telephones, cellular telephone technology, pagers, coded communications or slang-filled

conversations, false or fictitious identities, and other means to facilitate their illegal activities and
                                                    1
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thwart law enforcement investigations. Furthermore, through my investigations, I have become

familiar with the manner in which narcotics traffickers smuggle, transport, store, and distribute

narcotics, as well as how they collect and launder drug proceeds. These investigations include

the unlawful importation, possession with intent to distribute, and distribution of controlled

substances, as well as the related laundering of monetary instruments, the conducting of

monetary transactions involving the proceeds of specified unlawful activities, and conspiracies

associated with criminal narcotics offenses, in violation of Title 21, United States Code, Sections

841(a)(1) and 846.

       3.      This affidavit is made in support of a complaint charging Daniel Christian

BARILI (“BARILI”) with a violation of Title 21 U.S.C § 841(a)(1) and (b)(1)(B), Possession

with Intent to Distribute 50 Grams and More of a Mixture and Substance Containing

Methamphetamine, occurring on March 2, 2020. The information set forth in this affidavit is not

intended to detail each and every fact and circumstance of the investigation or all information

known to me and other law enforcement investigators. Rather, this affidavit serves to establish

probable cause for arrest. The facts set forth in this affidavit are based upon my personal

observations, my training and experience, information obtained from other agents and witnesses,

and my review of law enforcement reports.

                           STATEMENT OF PROBABLE CAUSE

       4.      On March 2, 2020, Santa Cruz County Sheriff’s Office (“SCCSO”) detectives were

conducting surveillance on a Toyota Corolla bearing California registration 8KAL930 (“Corolla”),

utilized by Daniel Christian BARILI in Soquel, California, in the Northern District of California.

While the Corolla was parked in the Burger King parking lot at 1302 Soquel Avenue, SCCSO

Sergeant Nicholas Baldrige observed BARILI move a silver and black lock box from the passenger

compartment of the Corolla to the trunk. Sgt. Baldrige also observed another person (hereafter,

“Individual 1”) getting in and out of the passenger side front seat. While surveilling the Corolla
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in the parking lot, Sgt. Baldrige observed Individual 1 open the passenger side front door and throw

a Burger King cup on the ground, in violation of California Penal Code (PC) 374.4 (littering).

       5.      After observing the Corolla depart, Sgt. Baldrige followed in his own vehicle. At

the intersection of Soquel Avenue and Morrissey Boulevard, in the immediate vicinity of the

Burger King, Sgt. Baldrige observed that BARILI’s seat belt was hanging loosely, a violation of

California Vehicle Code (CVC) 27315(d)(1) (driving without a seat belt). Sgt. Baldrige then

observed BARILI put on his seatbelt. Sgt. Baldrige then observed as BARILI made a U-turn and

accelerated to approximately 36 miles per hour in a 25 mile per hour zone in violation of California

VC 22350 (speeding). At that point, Sgt. Baldrige initiated a traffic stop of the Corolla.

       6.      Sgt. Baldrige contacted the driver, BARILI, and the passenger, Individual 1.

BARILI advised that he did not have is identification on him and verbally provided his name, date

of birth, and driver’s license number. While getting this information, Sgt. Baldrige observed what

he recognized as loose marijuana bud on top of the steering column of the Corolla. He pointed

this out to BARILI, who stated that someone had just given him the marijuana. Sgt. Baldrige

conducted a records check and had BARILI and Individual 1 exit the vehicle.

       7.      Sgt. Baldrige then utilized his narcotics detection K9 to conduct a free air sniff of

the exterior of the Corolla. The K9 is certified in the detection of narcotics, including

methamphetamine, heroin, cocaine, and marijuana. Sgt. Baldrige started on the driver’s side of

the vehicle and the K9 indicated the odor of narcotics at the seam between the driver’s side front

door and rear door by focusing on the seam. Based on the K9’s alert and the loose marijuana

observed in the vehicle, Sgt. Baldrige and Detective Chris Jones conducted a search of the vehicle.

       8.      During the search of the Corolla, Sgt. Baldrige located a gallon sized Ziploc bag

containing a white crystalline substance, believed to be methamphetamine. The suspected

methamphetamine was wrapped in a flannel in the back seat of the Corolla, and was later found to

have a total gross weight of approximately 745 grams.
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        9.       In the trunk, Sgt. Baldrige located a silver and black lock box, believed to be the

same box that Sgt. Baldrige saw BARILI place into the trunk of the Corolla at the Burger King.

Sgt. Baldrige asked BARILI for the code to the lock. BARILI initially denied knowing the code,

but when told that he had been seen moving the box around, BARILI told Sgt. Baldrige the lock

code. Inside the box, Sgt. Baldrige located a sandwich bag containing suspected heroin that

weighed approximately 78 gross grams, a sandwich bag containing suspected methamphetamine

that weighed approximately 89 gross grams, and a fentanyl testing kit. While detectives were

locating the items above, BARILI spontaneously claimed that the drugs were his and were for

personal use.

        10.      Inside Individual 1’s purse, which was found on the passenger side front floorboard,

Detective Jones located a black box that contained the following items, among other things:

multiple unused 3” x 3” plastic bags, a digital scale, packaged Suboxone strips, a small amount of

suspected heroin, and a small amount of suspected methamphetamine1 that was in a 3” x 3” plastic

bag that matched the other unused plastic bags. Individual 1 told Sgt. Baldrige that the black box

did not belong to her, and that she took it to conceal it during the stop.

        11.      On BARILI’s person, BARILI had a cellular telephone and a small amount of

suspected heroin. BARILI was then arrested and transported to the Santa Cruz County Jail.

        12.      While in intake at the Santa Cruz County Jail, BARILI consented to a forensic

search of his phone and provided Detective Ryan Fulton his passcode. During an initial review,

Detective Fulton located the following text messages that Detective Fulton attributed to drug sales:

        From BARILI to 831-435-8275: “Hey I have 5 pieces and it's bomb”

        From BARILI to “Jenny Gra”: “l need some I still didn't get any”




1 The suspected methamphetamine later tested presumptively positive for the presence of methamphetamine with a
NIK “U” test by SCCSO Criminologist May Cheung on March 3, 2020.
                                                      4
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       From “Jenny Gra” to BARILI: “I got 5 for 6 and I'm sure it cuts if your going big and it's

       GREAT”

       From BARILI to “Jenny Gra”: “Jen. I pay 70 to 80 each get mine And it's bomb. but bring

       me something for now”.

       From “Jenny Gra” to BARILI: “Where abouts i could bring you sum if you let me move in

       hahaha.”

       From BARILI to “Jenny Gra”: “I'm at work at the Ramada but there super sketchey about

       people”

       13.    Methamphetamine is a Schedule II controlled substance. Based on the fact that the

drugs were located in BARILI’s vehicle, that BARILI was driving the vehicle, that he knew the

code to the silver lock box, was seen with the box, and claimed that the drugs in the vehicle

belonged to him, I believe that the drugs in the vehicle belonged to BARILI. Based on the large

amount of methamphetamine, the unused packaging, and the digital scale, I believe that BARILI

possessed the suspected methamphetamine inside the vehicle with the intention of distributing it

to others. Furthermore, based on the text messages located on BARILI’s phone, I believe that

BARILI is actively engaged in drug distribution.

                                           CONCLUSION
       14.    Based on the foregoing, there is probable cause to believe that on March 2, 2020,

BARILI possessed with intent to distribute 50 grams and more of a mixture and substance

containing methamphetamine, in violation of Title 21 U.S.C § 841(a)(1) and (b)(1)(B).

       15.    I declare under penalty of perjury that the statements above are true and correct to

the best of my knowledge and belief.




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                                                  ____/s/____
                                                  Erik Wolf
                                                  Drug Enforcement Administration


Sworn and subscribed to before me over the telephone pursuant to Fed. R. Crim. P. 4.1 and
4(d) and signed by me on this ____14th___ day of April 2021.


_________________________________
HON. ROBERT M. ILLMAN
United States Magistrate Judge




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AO 257 (Rev. 6/78)


       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT               INFORMATION                  INDICTMENT                       Name of District Court, and/or Judge/Magistrate Location
                                                               SUPERSEDING                        NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                                SAN JOSE DIVISION
 COUNT ONE: (21 U.S.C. § 841(a)(1) and (b)(1)(B)) -                   Petty
 Possession with Intent to Distribute 50 Grams and More of a
 Mixture and Substance Containing Methamphetamine                     Minor              DEFENDANT - U.S
                                                                                                                                                  Apr 14 2021
                                                                      Misde-
                                                                      meanor
                                                                                        DANIEL BARILI
                                                                      Felony
                                                                                            DISTRICT COURT NUMBER
PENALTY:      Imprisonment: minimum 5 years, maximum 40 years


                                                                                                        CR 21-70620-MAG
              Fine: $5,000,000
              Supervised Release: minimum 4 years, maximum life
              Special Assessment: $100
              Potential Immigration Consequences
                                                                                                                      DEFENDANT
                             PROCEEDING                                                       IS NOT IN CUSTODY
                                                                                                Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                             1)       If not detained give date any prior
                             DEA S/A Erik Wolf
                                                                                                summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                     2)       Is a Fugitive
       give name of court
                                                                                       3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                              IS IN CUSTODY
                                                                                       4)       On this charge
       this is a reprosecution of

                                                                                                                                 }
       charges previously dismissed                                                    5)       On another conviction
       which were dismissed on motion                            SHOW                                                                      Federal         State


                                                      }
       of:                                                     DOCKET NO.
                                                                                       6)       Awaiting trial on other charges
            U.S. ATTORNEY              DEFENSE
                                                                                                 If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                          }
                                                                                                                Yes            If "Yes"
       pending case involving this same                                                     Has detainer
                                                                                                                               give date
       defendant                                               MAGISTRATE                   been filed?         No             filed


                                                      }
                                                                CASE NO.
       prior proceedings or appearance(s)                                                   DATE OF
                                                                                            ARREST
                                                                                                                      Month/Day/Year
       before U.S. Magistrate regarding this
       defendant were recorded under                                                        Or... if Arresting Agency & Warrant were not

                                                                                                                                     Month/Day/Year
Name and Office of Person
Furnishing Information on this form               Stephanie M. Hinds
                                                                                            DATE TRANSFERRED
                                                                                            TO U.S. CUSTODY
                                                                                                                          
                                U.S. Attorney          Other U.S. Agency

Name of Assistant U.S.                                                                           This report amends AO 257 previously submitted
Attorney (if assigned)                    AUSA Maia Perez
                                                      ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS               NO PROCESS*                  WARRANT         Bail Amount: None
        If Summons, complete following:
             Arraignment    Initial Appearance                                 * Where defendant previously apprehended on complaint, no new summons or
                                                                               warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                               Date/Time:                                 Before Judge:

        Comments:
